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UN|TED STATES D|STRICT COURT
NORTHERN DlSTRlCT OF FLORlDA
PENSACOLA DlVlSlON

UN|TED STATES OF AMER|CA
-vs- Case # 3:04cr3-001LAC

MlGUEL ANGEL ESTRADA-FLORES
USM # 05794-017

Defendant’s Attorney:

Kafahni Nkrumah (AFPD)

41 North Jefferson Street, Suite 301
Pensaco|a, F|orida 32502

 

AMENDED JUDGMENT lN A CRIMINAL CASE

The defendant pled guilty to Count One of the indictment on May 10, 2004. Accordingly, lT lS
ORDERED that the defendant is adjudged guilty of such count which involves the following offense:

 

T|TLE/SECT|ON NATURE OF ' DATE OFFENSE
NUMBER OFFENSE CONCLUDED COUNT
8 U.S.C. § 1326(a) and illegal Re-Entry into the United May 1, 2003 One
(b)(2) States After Deportation for an

Aggravated Felony

The defendant is sentenced as provided in the following pages of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984, including amendments effective
subsequent to 1984, and the Sentencing Guidelines promulgated by the U.S. Sentencing
Commission.

Pursuant to the remand of the Eleventh Circuit Court of Appeals, this Amended Judgment is hereby
entered and supersedes the previously entered Judgment dated August 3, 2004.

|T lS FURTHER ORDERED that the defendant shall notify the United States attorney for this
district Within 30 days of any change of name, residence, or mailing address until all fines,
restitution, costs and special assessments imposed by this judgment are fully paid.

curtis cf
§i.' " “ `

   

Date of imposition of Sentence:
May 24, 2005

  
   

 

LAcEY A. coLLlE
sENloR uNlTED sTATEs DlsTRlcTJuDGE

ij lL § D v ` May?.'i{,\zoos

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lMPRlSONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of 46 months as to Count One.

The defendant is remanded to the custody of the United States l\/larshal.

 

 

 

 

 

 

 

RETURN
l have executed this judgment'as follows:
Defendant delivered on to
at , With a certified copy of thisjudgment.
UN|TED STATES l\/lARSHAL
By:

 

Deputy U.St l\/larshal

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SUPERVISED RELEASE

j 1 Upon release from imprisonment, the defendant shall be on supervised release for a term
0f"3 years as to Count One.

The defendant shall report to the probation office in the'district to which the defendant is
released within 72 hours of release from custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime and shall not possess
a firearm, destructive device, or any other dangerous weapon.

The defendant shall not unlawfully possess a controlled substance. The defendant shall
refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug
test within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as
determined by the court. _

STANDARD COND|T|ONS OF SUPERV|S|ON

The defendant shall comply with the following standard conditions that have been
adopted by this court.

1. The defendant shall not leave the judicial district without the permission of the court or probation
officer;
2. The defendant shall report to the probation officer and shall submit a truthful and complete written

report within the first five days of each month;

3. The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions
of the probation officer;

4. The defendant shall support his or her dependents and meet other family responsibilities;

5. The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for
schooling, training, or other acceptable reasons;

6. The defendant shall notify the probation officer at least 10 days prior to any change in residence or
employment;
7. The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use,

distribute, or,administer any controlled substance or any paraphernalia related to any controlled
substances, except as prescribed by a physician;

8. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered;

9. The defendant shall not associate with any persons¢engaged in criminal activity and shall not
associate with any person convicted of a felony unless granted permission to do so by the probation
officer; '

10. The defendant shall permit a probation officerto visit him or her at anytime at home or elsewhere and

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11.

12.

13.

14.

shall permit confiscation of any contraband observed in plain view of the probation officer;

The defendant shall notify the probation officer within 72 hours of being arrested or questioned by
a law enforcement officer;

The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court; and

As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement. '

if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervision that the
defendant pay any such fine or restitution in accordance with the Schedule of Payments set forth in
the Criminal Monetary Penalties sheet of this judgment.

ADDlTlONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

The defendant shall cooperate with the probation officer and immigration and
Customs Enforcement regarding immigration status and abide by all orders or
instructions of the immigration and Customs Enforcement agency. if deported,
the defendant shall not reenter the United States without permission of the
Attorney General.

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Upon a finding of a violation of probation or supervised release, i understand the Court
may (1) revoke supervision, (2) extend the term of supervision, and/or (3) modify the conditions
of supervision.

These conditions have been read to me. l fully understand the conditions and have
been provided a copy of them.

 

Defendant Date

 

U.S. Probation Officer/Designated Witness , Date

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CR|M|NAL MONETARY PENALT|ES

All criminal monetary penalty payments, except those payments made through the
Bureau of Prisons’ inmate Financiai Responsibility Program, are to be made to the C|erk, U.S.
District Court, unless othenNise directed by the Court. Payments shall be made payable to the
Clerk, U.S. District Court, and mailed to 111 N. Adams St., Suite 322, Ta|lahassee, FL 32301-
7717. Payments can be made in the form of cash if paid in person.

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall pay
interest on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full
before the fifteenth day after the date ofjudgment, pursuant to 18 U.S.C. § 3612(f). All of the
payment options in the Schedule of Payments may be subject to penalties for default and
delinquency pursuant to 18 U.S.C. § 3612(g). '

_S_LLV|M

Specia|
Monetary Assessment

$100.00

SPEC|AL MONETARY ASSESSMENT

A special monetary assessment of $100.00 is imposed and is to be paid immediately.

No fine imposed.
No restitution imposed.

